                 Case 2:17-cr-00064-KJD-EJY                       Document 15              Filed 02/10/17          Page 1 of 1

$2 5HY 2UGHU6FKHGXOLQJD'HWHQWLRQ+HDULQJ



                                       81,7('67$7(6',675,&7&2857
                                                                        IRUWKH
                                                   'LVWULFWRI1(9$'$

                   8QLWHG6WDWHVRI$PHULFD
                              Y                                                   &DVH1R PM9&)

                      6$08(/%52:1
                              Defendant


                                          25'(56&+('8/,1*$'(7(17,21+($5,1*



$GHWHQWLRQKHDULQJLQWKLVFDVHLVVFKHGXOHGDVIROORZV

           /OR\G'*HRUJH86&RXUWKRXVH
3ODFH     /DV9HJDV%OYG6R                                              &RXUWURRP1R           $
           /DV9HJDV19
           EHIRUH0DJLVWUDWH-XGJH1DQF\-.RSSH                                'DWHDQG7LPH           DWDP


        ,7,625'(5('3HQGLQJWKHKHDULQJWKHGHIHQGDQWLVWREHGHWDLQHGLQWKHFXVWRG\RIWKH8QLWHG6WDWHV
PDUVKDORUDQ\RWKHUDXWKRUL]HGRIILFHU7KHFXVWRGLDQPXVWEULQJWKHGHIHQGDQWWRWKHKHDULQJDWWKHWLPHGDWHDQG
SODFHVHWIRUWKDERYH




'DWH      )HEUXDU\
                                                                                                          Judge’s
                                                                                                          Judg
                                                                                                             ge’
                                                                                                               e’s si
                                                                                                                   ssignature
                                                                                                                     ign
                                                                                                                      g ature


                                                                                          1$1&<-.233(860DJLVWUDWH-XGJH
                                                                                           $1&< - .2333(
                                                                                                      3 86 0 L W W - G
                                                                                                        Printed name and title




                          FEB 10, 2017
